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                     UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,

                    Plaintiff,                    Case No. 1:22-cv-329-BLW

v.
                                                  ORDER
THE STATE OF IDAHO,

                    Defendant,

SCOTT BEDKE; CHUCK WINDER;
the SIXTY-SIXTH LEGISLATURE,

                    Intervenor-
                    Defendants.

      Upon consideration of the United States’ Motion to Extend Briefing Schedule

Regarding Motions for Reconsideration, and finding good cause, IT IS ORDERED

that the United States’ motion is GRANTED.

      It is FURTHER ORDERED that the United States shall file a consolidated

opposition to the Legislature’s Motion for Reconsideration (Dkt. 97) and the State

of Idaho’s forthcoming motion for reconsideration, which shall not exceed 30 pages

and shall be due no later than 21 days after the State of Idaho files its motion for
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reconsideration.


                                         DATED: September 22, 2022


                                         _________________________
                                         B. Lynn Winmill
                                         U.S. District Court Judge




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